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                EXHIBIT 3
                EXHIBIT 34
  FILED UNDER SEAL
              SEAL
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                                                                                    Page 1
                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
         _________________________________
         IN RE MATTER OF:                                    )
         RICHARD KADREY, et al.,                             )
         Plaintiff,                                          )
                 vs.                                         ) C.A. NO.:
         META PLATFORMS, INC.,                               ) 3:23-cv-03417-VC
         Defendant.                                          )
         _________________________________)
            ** HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY **
                            UNDER THE PROTECTIVE ORDER
              VIDEOTAPED DEPOSITION OF TODOR MIHAYLOV, Ph.D.
                                Palo Alto, California
                            Thursday, September 19, 2024


         Stenographically Reported by:
         HEATHER J. BAUTISTA, CSR, CRR, RPR, CLR
         Realtime Systems Administrator
         California CSR License #11600
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                                                                                  Page 21
   1     prepare yourself to testify with respect to that

   2     topic.

   3                   THE WITNESS:          Yeah.      So first the topic as

   4     a whole is very broad.

   5           Q.      (By Ms. Poueymirou)              Um-hum.

   6           A.      So if this was the only line, I -- I know

   7     about the topic.            I didn't do any particular work

   8     for this particular topic, just because it's like

   9     a -- for us it's like a day-to-day thing --

 10            Q.      Right.

 11            A.      -- like ablations in general.                    I don't know

 12      what you mean actually by the topic, yeah.

 13            Q.      Okay.

 14            A.      So --

 15            Q.      So is it fair to say that what you're

 16      saying is ablations is part of your normal

 17      day-to-day work so you did not do any unique

 18      preparation for giving testimony on that topic?                               Is

 19      that a fair way to put it?

 20            A.      Yes.

 21                    MR. WEINSTEIN:           You can just answer yes.

 22                    THE WITNESS:          Yes.



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                                                                                 Page 210
   1                    I, HEATHER J. BAUTISTA, CSR No. 11600,

   2     Certified Shorthand Reporter, certify:

   3             That the foregoing proceedings were taken

   4     before me at the time and place therein set forth,

   5     at which time the witness declared under penalty of

   6     perjury; that the testimony of the witness and all

   7     objections made at the time of the examination were

   8     recorded stenographically by me and were thereafter

   9     transcribed under my direction and supervision; that

 10      the foregoing is a full, true, and correct

 11      transcript of my shorthand notes so taken and of the

 12      testimony so given;

 13         (XX) Reading and signing was not requested/offered.

 14              I further certify that I am not financially

 15      interested in the action, and I am not a relative or

 16      employee of any attorney of the parties, nor of any

 17      of the parties.

 18              I declare under penalty of perjury under the

 19      laws of California that the foregoing is true and

         correct.           Dated:         September 23, 2024

 20

 21                      _______________________________________

 22                      HEATHER J. BAUTISTA, CSR, CRR, RPR, CLR



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